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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 A I G SPECIALTY INSURANCE CO                        CASE NO. 6:21-CV-04191

 VERSUS                                              JUDGE ROBERT R. SUMMERHAYS

 KNIGHT OIL TOOLS INC                                MAGISTRATE JUDGE CAROL B.
                                                     WHITEHURST


                           NOTICE OF DEFICIENT DOCUMENT


 NOTICE TO FILER:

 The Motion to Intervene filed on January 07, 2022 by Rippy Oil Co was DEFICIENT for the
 following reason(s):


      ✓      A Motion to Intervene must be accompanied by the proposed Complaint for
             Intervention. The court will not act on such a motion without reviewing the
             document sought to be filed. Please refer to LR 7.6 for more information.
             The motion cannot be referred to chambers until this deficiency is corrected.


 Please electronically submit a “Corrective Document” within 10 days from the date of this
 notice or the document may be stricken by the court. PLEASE ENTITLE THE
 SUBMISSION, “CORRECTIVE DOCUMENT.” All filing deadlines previously set remain
 in effect. Issuance of this deficiency does not amount to an extension of any deadline.

 For questions regarding this document or transmission, please call our CM/ECF help desk at 1-
 866-323-1101.
